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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.: 1:21-CV-24087

   KENNETH A. SYMONS,

           Plaintiff,

   vs.

   INTERSTATE MANAGEMENT
   COMPANY, LLC,

         Defendants.
   ______________________________/

                                     SUMMONS IN A CIVIL ACTION

   TO:
           c/o CT CORPORATION SYSTEM, its Registered Agent
           1200 SOUTH PINE ISLAND ROAD
           PLANTATION, FL 33324

           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or
   60 days if you are the United States or a United States agency, or an officer or employee of the United
   States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the
   attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
   motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                            Toussaint Cummings, Esq.
                                            FairLaw Firm
                                            135 San Lorenzo Avenue
                                            Suite 770
                                            Coral Gables, FL 33146
                                            Tel:    (305) 230-4884
                                            toussaint@fairlawattorney.com

          If you fail to respond, judgment by default will be entered against you for the relief demanded in
   the complaint. You also must file your answer or motion with the court.

   Date:                                                    CLERK OF COURT

                                                            ____________________________
                                                            Signature of Clerk or Deputy Clerk
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   Civil Action No.:

                                              PROOF OF SERVICE
         (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)_______________________________________________was
   received by me on (date)                                       .

          ␣      I personally served the summons on the individual at (place) ______________________________
                 _______________________________,                                 on (date)_____________________; or

          ␣      I left the summons at the individual’s residence or usual place of abode with (name) _____________
                 ____________________________________________________, a person of suitable age and discretion
                 who resides there,                                      on (date)                       , and mailed
                 a copy to the individual’s last known address; or

          ␣      I served the summons on (name of individual)___________________________________________________
                 designated by law to accept service of process on behalf of (name of organization) _________________
                 ____________________________________________on (date) _____________________________; or

          ␣      I returned the summons unexecuted because _______________________________________; or

          ␣      Other (specify):

                                                                                                               .

          My fees are $_________for travel and $____________for services, for a total of $___________

   I declare under penalty of perjury that this information is true.

   Date:______________                              _______________________________________
                                                               Server’s Signature

                                                    _______________________________________
                                                               Printed Name and Title

                                                    _______________________________________
                                                               Server’s address

   Additional information regarding attempted service, etc:
